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                                                                        2021 Mar-19 AM 10:15
                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


EQUAL EMPLOYMENT                           )
OPPORTUNITY COMMISSION,                    )
                                           )
      Plaintiff,                           )
                                           )    Civil Action No.
and                                        )    2:17-cv-01649-MHH
                                           )
VINCENT JACKSON,                           )
                                           )
      Plaintiff-Intervenor                 )
                                           )
v.                                         )
                                           )
DOLGENCORP, LLC.                           )
                                           )
      Defendant.                           )
                                           )


PLAINTIFFF UNITED STATES EQUAL EMPLOYMENT OPPORTUNITY
  COMMISSION’S REPLY IN SUPPORT OF MOTION FOR PARTIAL
      SUMMARY JUDGMENT AS TO LIABILITY REGARDING
     DEFENDANT’S VIOLATION OF GENETIC INFORMATION
                NON-DISCRIMINATION ACT


      Plaintiff, United States Equal Employment Opportunity Commission

(“EEOC”), moved this Court for partial summary judgment against Defendant,

Dolgencorp, LLC (“Defendant”), as to liability under Count 3 of the EEOC’s

Complaint for violation of the Genetic Information Non-Discrimination Act


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(“GINA”). (Doc. 107). The EEOC submits this reply to Defendant’s response brief

in opposition (Doc. 126).

      I.     Defendant’s Standing Argument Is Contrary to the Language
             of GINA and Unsupported by Caselaw

      Remarkably, Defendant does not deny that it violated GINA. Instead,

Defendant contends only that the EEOC lacks standing to bring a claim because the

Court cannot award any monetary damages, and that the EEOC prematurely seeks

these (allegedly non-existent) damages.

      Although Defendant contends that compensatory and punitive damages are

not available when an employer solicits or acquires family medical history from

applicants, it cites no case authority on point. Instead, Defendant mistakenly

analogizes the EEOC’s GINA claim to a disparate impact claim where there is no

intentional discrimination that can serve as the basis to award compensatory or

punitive damages. However, the EEOC has not made a disparate impact

discrimination claim. Defendant’s GINA violation was not based on an inadvertent

or accidental practice that disparately impacted a specific group. Defendant

intentionally drafted the Physical Encounter form to include a question directly

asking all applicants to disclose whether their grandparents, parents, or children had

any significant medical problems. Defendant intentionally provided this form to

Middle Creek Medical Center (“MC”) and intentionally directed them to use it.

There is no question that Defendant expected MC to acquire family medical history
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from every applicant. Such a violation was intentional and does not by its nature

disproportionately impact any group because Defendant applied this practice to all

applicants.

       Contrary to Defendant’s arguments, courts have permitted an award of

compensatory and punitive damages solely based on an employer requesting genetic

information even where the employer did not use that information as a basis to

“intentionally” discriminate. In Lowe v. Atlas Logistics Grp. Retail Servs. (Atlanta),

LLC, 102 F. Supp. 3d 1360, 1370 (N.D. Ga. 2015), the court granted summary

judgment to the plaintiffs regarding liability and let the case proceed to a jury trial

to determine damages. The court held that the defendant violated GINA by merely

requesting genetic information (cheek swab samples) from employees. There was

no evidence that Lowe used the genetic information in any way adverse to the

plaintiffs. 1

       Likewise, in Lee v. City of Moraine Fire Dep't, No. 3:13-CV-222, 2015 WL

914440, at *15 (S.D. Ohio Mar. 3, 2015), and Jackson v. Regal Beloit Am., Inc., No.



1 The jury awarded $2.23 million in damages, consisting of $475,000 in emotional distress
damages and $1.75 million in punitive damages, based on the employer’s reckless indifference to
their federally protected rights. This was later reduced to the statutory limit of $300,000 plus
interest, for each Plaintiff. Lowe v. Atlas Logistics Grp. Retail Servs. (Atlanta), LLC, No. 1:13-
CV-2425-AT, 2015 WL 10891935, at *3 (N.D. Ga. Sept. 28, 2015).
https://www.jdsupra.com/legalnews/jury-hits-employer-with-2-2-million-74645/
https://www.reuters.com/article/us-verdict-dna-defecator/georgia-workers-win-2-2-million-in-
devious-defecator-case-idUSKBN0P31TP20150623

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CV 16-134-DLB-CJS, 2018 WL 3078760, at *16 (E.D. Ky. June 21, 2018), the court

granted the plaintiffs partial summary judgment, finding the defendants liable for

asking for genetic information and permitted the jury to determine damages at a

subsequent trial. It is important to note there was no evidence that the employers in

Lowe, Lee, or Regal Beloit actually used the genetic information to intentionally

discriminate against the plaintiffs; rather, the court found the defendants liable based

on merely asking for the employees’ genetic information. Defendant’s response brief

ignores these cases and does not cite any others that counsel against their holdings

that liability can be predicated solely on requesting genetic information even in the

absence of intentional discrimination.

      Defendant also does not cite any cases holding that a plaintiff lacks Article III

standing to pursue a GINA claim unless the defendant used the genetic information

acquired for some act of intentional discrimination. It is likely Defendant’s failure is

because there is no such case authority, at least as far as Plaintiff’s research reveals.

On the contrary, in Hawkins v. Jamaica Hosp. Med. Ctr. Diagnostic & Treatment

Ctr. Corp., No. 16CV4265RRMCLP, 2018 WL 1521774, at *2 (E.D.N.Y. Mar. 28,

2018), the court determined the plaintiffs had Article III standing to bring a GINA

claim for damages based on the risk of discrimination that never actually

materialized from their former employer’s collection of genetic information. The

court stated:


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             The statutory violation in this case demonstrates a risk of
             real harm, and, as such, the allegation of a statutory
             violation confers standing without additional allegations
             of harm. . . . It is this risk, which Congress identified, that
             confers standing; therefore, the plaintiffs here did not lose
             standing simply because they left their jobs, and the risk
             never materialized. The plaintiffs can seek damages to
             compensate them for the injury or harm they sustained
             because of the collection of their genetic information.

Id. (emphasis added). “The plaintiffs have standing to bring their claim for damages

because the risk of discrimination based on an improper use of their genetic

information is a sufficient injury to seek damages.” Id. (emphasis added) (citing

Strubel v. Comenity Bank, 842 F.3d 181 (2nd Cir. 2016) (“an alleged procedural

violation can by itself manifest concrete injury where Congress conferred the

procedural right to protect a plaintiff’s concrete interests and where the procedural

violation presents a risk of real harm to that concrete interest.”)). The Hawkins court

made no distinction between whether the risk of discrimination involved possible

disparate impact on the GINA plaintiffs or possible intentional discrimination. Such

an inquiry (and actual discrimination) was not required for the court to find both that

the plaintiffs had standing and sufficient injury to seek damages.

      Congress found it prudent to create two categories of GINA violations: one

under 42 U.S.C. § 2000ff-1(a) for “discrimination based on genetic information” and

another under 42 U.S.C. § 2000ff-1(b) for “acquisition of genetic information.”

Section 2000ff-1(b) states, “It shall be an unlawful practice for an employer to


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request, require or purchase genetic information with respect to an employee or

family member of the employee…” It makes no reference to the practice being

unlawful only if the employer discriminates against the employee based on that

genetic information. 2 Moreover, Defendant has cited no cases holding that standing

under § 2000ff-1(b) requires proof that actual discrimination resulted from the

acquisition of genetic information.

       Section 1(b) is not a subsection of 1(a), but rather its own separate statement

of what Congress made unlawful under GINA. There is no reason to assume

Congress intended for use of genetic information to discriminate to be a required

element under § 1(b). “[I]t is a general principle of statutory construction that when

‘Congress includes particular language in one section of a statute but omits it in

another     section      of    the     same       Act,    it    is    generally      presumed

that Congress acts intentionally and purposely in the disparate inclusion or



2
 Defendant cites Jackson v. Regal Beloit Am., Inc., No. CV 16-134-DLB-CJS, 2018 WL 3078760,
at *15 (E.D. Ky. June 21, 2018) for the proposition that a plaintiff has no claim under § 2000ff-
1(a) where the employer could not have taken any adverse employment action. In fact, in Jackson
the employer could not discriminate based on the plaintiff’s genetic information because she
refused to provide it. Like the EEOC, she brought her claim under § 2000ff-1(b) based on the
defendant’s unlawful request for genetic information during an employment-related medical exam.
Id. (“Because Jackson has put forward proof that the medical records requested contained
protected ‘genetic information’ in the form of her family history—a fact that Regal conceded at
oral argument—she has proven that Regal made an unlawful request for genetic information.”).
Likewise, Dollar General has not denied it requested family medical history or that such history
constituted genetic information under GINA. Such is sufficient for the Court to find liability.




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exclusion.’” Barnhart v. Sigmon Coal Co., 534 U.S. 438, 452 (2002). Thus, neither

the language of GINA itself, nor any case authority citing GINA, requires proof of

intentional use of genetic information in order for the plaintiff to have standing to

seek monetary damages.

      II.    Under a New Supreme Court Decision Nominal Damages Are
             Sufficient to Confer Article III Standing Even Without Economic
             Damages

      Defendant contends that nominal damages do not confer Article III standing

because such relief has no effect on the parties’ rights. (Doc. 126, p. 14).

Unfortunately for Defendant, on March 8, 2021 the United States Supreme Court

rejected that argument in Uzuegbunam v. Preczewski, __ U.S. __, 2021 WL 850106

(March 8, 2021). In Uzuegbunam, the Court held that a student who brought a §

1983 action against his college for violation of his First Amendment right to

distribute religious literature on campus had Article III standing despite only seeking

nominal damages and injunctive relief, and not seeking economic relief. The Court

held that “an award of nominal damages by itself can redress a past injury.”

Uzuegbunam, 2021 WL 850106 at *2. Citing ancient English and U.S. courts’

common law precedent, the Court endorsed the position that “‘every injury imports

a damage’ and that a plaintiff could always obtain damages even if he ‘does not lose

a penny by reason of the [violation].’” Id. at * 4 (quoting Ashby v. White, 2 Raym.

Ld. 938, 955 (K.B. 1703). “[A] prevailing plaintiff ‘is entitled to a verdict for


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nominal damages’ whenever ‘no other [kind of damages] be proved.’” Id. (quoting

Webb v. Portland Mfg. Co., 29 F. Cas. 506, 508-509 (No. 17, 322) (CC Me. 1838).

The purpose of this principle is to “avoid the oddity of privileging small-dollar

economic rights over important, but not easily quantifiable nonpecuniary rights.” Id.

at *5. The Uzuegbunam Court specifically rejected the idea that an award of nominal

damages was only proper where a plaintiff pled compensatory damages but failed to

establish a specific amount. Id. Nominal damages are neither a “consolation prize”

nor “purely symbolic[,]” but rather damages that affect the “‘behavior of the

defendant towards the plaintiff’ and thus provide redress.” Id. at *6 (internal citations

omitted).

      III.   The EEOC’s Claim for Injunctive Relief Also Confers Standing to
             Bring Its GINA Claim

      In addition, even if the EEOC’s GINA claim were akin to a disparate impact

claim, which it is not, EEOC seeks injunctive relief, which confers standing to bring

its claim. See E.E.O.C. v. Outback Steak House of Fla., Inc., 576 F. Supp. 2d 1202,

1205 (D. Colo. 2008) (“although the EEOC cannot recover emotional distress

damages or punitive damages under a disparate impact theory, the EEOC may obtain

injunctive relief, declaratory relief, back pay, front pay and interest.”). “Standing

consists of three elements: ‘[t]he plaintiff must have (1) suffered an injury in fact,

(2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is

likely to be redressed by a favorable judicial decision.’ As the party seeking the
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preliminary injunction, the plaintiffs bear the burden of establishing these

elements.” People First of Alabama v. Merrill, 467 F. Supp. 3d 1179, 1197 (N.D.

Ala. 2020), appeal dismissed, No. 20-12184-GG, 2020 WL 5543717 (11th Cir. July

17, 2020) (emphasis added) (quoting Spokeo, Inc. v. Robins, ––– U.S. ––––, 136 S.

Ct. 1540, 1547 (2016)).3

       Defendant also asserts that the Court no longer has authority to grant

injunctive relief because Defendant discontinued the prohibited practice and any

ruling against Defendant would in essence be only an advisory opinion. Defendant

is mistaken. “Along with its power to hear the case, the court’s power to grant

injunctive relief survives discontinuance of the illegal conduct. The purpose of an

injunction is to prevent future violations and, of course, it can be utilized even

without a showing of past wrongs.” U.S. v. W. T. Grant Co., 345 U.S. 629 (1953)

(citing Goshen Mfg. Co. v. Hubert A. Myers Mfg. Co., 242 U.S.202 (1916) and Swift

& Co. v. U.S., 276 U.S. 311 (1928)). “[M]ere voluntary cessation of misconduct

when a suit is filed does not necessarily render a case moot or remove the necessary



3
 Even potential future harm can serve as a basis to confer standing to a GINA claimant. In AARP
v. United States Equal Employment Opportunity Comm'n, 226 F. Supp. 3d 7, 15 (D.D.C. 2016),
an individual claimant and the AARP both had standing to challenge the EEOC’s regulations
pertaining to the definition of “voluntary” participation in employer wellness programs as
inconsistent with both the ADA and GINA based on the incentives offered being coercive.
Standing was conferred despite no showing of actual harm.




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justiciability.” Meltzer v. Bd. of Pub. Instruction of Orange Cty., Fla., 548 F.2d 559,

565 n.10 (5th Cir. 1977), on reh'g, 577 F.2d 311 (5th Cir. 1978) (citing DeFunis v.

Odegaard, 416 U.S. 312 (1974) and United States v. W. T. Grant Co., 345 U.S. 629

(1953). “The crucial test, in an action involving a request for injunctive or

declaratory relief where defendant has voluntarily ceased his allegedly illegal

conduct, is whether it can be said with assurance that there is no reasonable

expectation that the wrong will be repeated.” Id. As the Meltzer court stated,

             Both sides agree to the abstract proposition that voluntary
             cessation of allegedly illegal conduct does not deprive the
             tribunal of power to hear and determine the case, i.e., does
             not make the case moot. A controversy may remain to be
             settled in such circumstances, e.g., a dispute over the
             legality of the challenged practices. The defendant is free
             to return to his old ways. This, together with a public
             interest in having the legality of the practices settled,
             militates against a mootness conclusion. For to say that the
             case has become moot means that the defendant is entitled
             to a dismissal as a matter of right. The courts have rightly
             refused to grant defendants such a powerful weapon
             against public law enforcement.

Id. at fn. 13 (citing United Brotherhood C. & J. v. N. L. R. B., 341 U.S. 707 (1951)

(other internal citations omitted)). Here, without an injunction, Defendant is free to

resume its practice of collecting family medical history, and the EEOC’s interest in

having the illegality of this practice determined in the public interest would be

thwarted.

      More specifically, at least one court has entered an injunction against a


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defendant who merely acquired genetic information in violation of GINA even after

the defendant ceased acquiring the information. In Lowe, the plaintiffs moved the

court post-verdict for injunctive relief to ensure that their genetic samples were

destroyed. The court held, even though there was evidence the samples had already

been destroyed, that it “was still appropriate to DIRECT Defendant to refrain from

requesting genetic information from its employees moving forward in violation of

GINA.” Lowe v. Atlas Logistics Grp. Retail Servs. (Atlanta), LLC, No. 1:13-CV-

2425-AT, 2015 WL 10891935, at *3 (N.D. Ga. Sept. 28, 2015) (emphasis in

original). The court entered its injunction even though it reasoned that the “verdict

awarded in this case strongly suggests that Defendant should be fully incentivized

to avoid any future requests for employee genetic information again at all costs.” Id.

at *2. The same holds true here where Defendant, a nation-wide retailer whose

practices potentially impact thousands of job applicants, should be directed to avoid

any future requests for employee genetic information.

       IV.    The EEOC’s Motion for Partial Summary Judgment Is Not
              Premature and Is Not Directed to Determining Damages

       As plainly stated in its title, the EEOC’s motion seeks only a ruling that

Defendant violated GINA – the EEOC’s motion is only directed to a finding of

liability. 4 References to damages in the EEOC’s brief were to demonstrate that the


4
 The EEOC’s Motion is entitled Motion for Partial Summary Judgment as to Liability
Regarding Defendant’s Violation of Genetic Information Non-Discrimination Act. (Doc. 107).
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EEOC’s GINA claim includes the type of harm to the Class Members that the Court

can remedy. The EEOC’s brief in support of its motion clearly states that the Court

need not make a determination about damages in order to determine liability, and

cites cases where other courts have done exactly that. (Doc. 107-1, p. 31-32). Some

discussion of the existence of damages was necessary, however, to respond to the

argument the EEOC (correctly) anticipated Defendant would (erroneously) assert -

that there were no compensable damages and that such is fatal to the EEOC’s claim.

      V.     Defendant Erroneously Claims It Had No Affirmative Duty to
             Instruct Middle Creek Not To Solicit Genetic Information

      Just as Defendant does not deny it violated GINA by requesting family

medical history, Defendant does not deny that it failed to instruct MC not to solicit

genetic information. Instead, Defendant quibbles with whether it should have to

abide by a regulation which was promulgated by EEOC to further the statutory

purpose of GINA. The regulatory language is clear: “A covered entity must tell

health care providers not to collect genetic information, including family medical

history, as part of a medical examination intended to determine the ability to perform

a job, and must take additional reasonable measures within its control if it learns

that genetic information is being requested or required.” 29 C.F.R. §1635.8(d)

(emphasis added).

      The fact that this provision is a regulation and not part of the statute’s text

does not negate its enforceability. Courts have “long recognized that considerable
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weight should be accorded to an executive department's construction of a statutory

scheme it is entrusted to administer, and the principle of deference to administrative

interpretations.” Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837,

844 (1984) (internal citations omitted). The Court explained,

             “The power of an administrative agency to administer a
             congressionally created ... program necessarily requires
             the formulation of policy and the making of rules to fill
             any gap left, implicitly or explicitly, by Congress.” If
             Congress has explicitly left a gap for the agency to fill,
             there is an express delegation of authority to the agency to
             elucidate a specific provision of the statute by regulation.
             Such legislative regulations are given controlling weight
             unless they are arbitrary, capricious, or manifestly
             contrary to the statute.

Id. at 843–44 (quoting Morton v. Ruiz, 415 U.S. 199 (1974).

      The EEOC’s regulation at 29 C.F.R. § 1635.8(d) requiring an employer to tell

health care providers not to collect family medical history as part of a medical exam,

and to take additional reasonable measures if it learns genetic information is being

requested, has been held to be an “affirmative duty.” See Jackson v. Regal Beloit

Am., Inc., No. CV 16-134-DLB-CJS, 2018 WL 3078760, at *16 (E.D. Ky. June 21,

2018) (citing 29 C.F.R. §1635.8(d) and holding, “Thus, Regal had an affirmative

duty to ensure Dr. Haskell did not violate GINA during the course of any medical

examination.”).

      The fact that Defendant did not instruct MC not to collect family medical

history is also evidence that the collection of that information was not inadvertent.
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Id. at 16-17 (“If a covered entity acquires genetic information in response to a lawful

request for medical information, the acquisition of genetic information will not

generally be considered inadvertent unless the covered entity directs the individual

and/or health care provider from whom it requested medical information (in writing,

or verbally, where the covered entity does not typically make requests for medical

information in writing) not to provide genetic information.”) (quoting 29 C.F.R. §

1635.8(b)(1)(i)(A)). Thus, Defendant’s actions cannot be deemed inadvertent

because it failed in this affirmative duty.

      VI.    Defendant Has Not Cited Any Material Fact In Dispute That
             Supports Denial of Partial Summary Judgment

      To establish liability for an illegal request for genetic information under

GINA, the EEOC must show (1) that a covered employer or its agent made a request

of an applicant; (2) that the request solicited “genetic information;” and (3) that none

of the statutory exceptions apply. See Lee v. City of Moraine Fire Dep’t, 2015 WL

914440, at *11 (S.D. Ohio Mar. 3, 2015). The EEOC has done so at length in its

original brief. (Doc. 107-1). In response, Defendant has not disputed that the EEOC

has established each element of its prima facie case. Defendant has not denied that

it included the prohibited question on the form used in its pre-employment medical

exams, or denied that it directed MC to collect family medical history, or denied that

MC was acting as its agent in doing so, or claimed the request was inadvertent.

Defendant has not argued that any other statutory exceptions apply to shield it from
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liability. Thus, Defendant has not shown there exists any genuine dispute as to any

material fact as to its liability.

       VII. CONCLUSION

       The material facts necessary to prove Defendant violated GINA are

undisputed. The EEOC has also established that, as a matter of law, it has standing

to bring its GINA claim and the existence of potential damages that can be

determined at trial. In addition, EEOC’s claim for injunctive relief confers standing

to bring its GINA claim. Therefore, the EEOC respectfully requests that the Court

grant Plaintiff’s Motion for Partial Summary Judgment and find Defendant liable for

violating GINA by soliciting family medical history through its agent, MC, from

Jackson and a class of General Warehouse Worker job applicants at its Bessemer,

Alabama Distribution Center from at least December 2013 to August 22, 2014.

       Dated: March 19, 2021

                                     Respectfully submitted,


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                           CERTIFICATE OF SERVICE

       I hereby certify that on March 19, 2021, I filed the foregoing with the Clerk

of Court using the CM/ECF system which will electronically send notification of the

filing to all attorneys of record.

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